192 F.2d 809
    MIKKELSEN,v.THE GRANVILLE et al.
    No. 65, Docket 22114.
    United States Court of Appeals Second Circuit.
    Decided Nov. 15, 1951.
    
      Haight, Deming, Gardner, Poor &amp; Havens, New York City, for petitioner, Skibs A/S Sommerstad.  John Osnato, Jr., and Walter A. Darby, Jr., New York City, Advocates.
      Purdy, Lamb &amp; Catoggio, New York City (Edmund F. Lamb, New York City, of counsel), for respondent-impleaded-appellee.
      Before AUGUSTUS N. HAND, CHASE and WOODBURY, Circuit Judges.
      PER CURIAM.
    
    
      1
      We did not overlook the contention in appellant's brief that in this case the appellant, the shipowner, relied upon an independent contract of indemnity and did not seek contribution.  However, since the shipowner is not liable to the libellant in the absence of negligence on its part, Guerini v. United States, 2 Cir., 167 F.2d 352, the implied contract of indemnity upon which it relies would have to be a contract to indemnify against the shipowner's own wrong.  Such a contract cannot reasonably be implied and we so held in American Mutual Liability Ins. Co. v. Matthews, 2 Cir., 182 F.2d 322, 324.
    
    
      2
      The petition for a rehearing is accordingly denied.
    
    